Case 2:18-cr-00394-GRB-AYS Document 187-2 Filed 10/12/22 Page 1 of 20 PageID #: 3411




                                Exhibit B
Case 2:18-cr-00394-GRB-AYS Document 187-2 Filed 10/12/22 Page 2 of 20 PageID #: 3412




   Dear your Honor,

   My name is Gary Slavin and I am writing to you on behalf of John Drago.

   I have known John Drago for over ten years as a client . I am in the insurance and financial service
   business. In my business you get to know a lot of people and what is im portant to them and shall I say
   their "business ethics". John always stood out in a good way with his business ethics or in always trying
   to do the right thing.

   For example, when we were preparing the documents for a company 401k plan, he wanted to make
   sure he understood how his employees wou ld benefit from the plan . He was concerned about the
   company match; his options were to only give the employees that defer into the plan a match or do a
   non-elective contribution for each eligible employee . He chose to give an 3% non-elective contribution
   to everyone . Most employers chose the other because it is less expensive to the company.

   I got to know the employees by enrolling them into the 401k plan. Du ring that time, I heard from several
  employees that John also helped them when they ran into money trouble due to family emergencies.
  But that all stopped when the government brought these charges aga inst him which forced the end of
   his business and the employees lost their jobs.

  John threw all of this has had a positive outlook and became a pray full man. Hoping for the best
  outcome for his family and himself.

  Your Honor I hope you take into co nsideration all John's acts of kindness, and as a businessman his
  always trying to do the right thing when you sentence him because the sentence is just not on him but
   on his family.

  Thank you in advance for your consideration of leniency on behalf of John Drago.
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       Dear Honorable Judge Brown,



       My name is Sara Castaneda of Fredericksburg, Virginia. I have served as a pastor with Iglesia

       Cristiana Horeb for over 6 years and have upheld my own cleaning company, Sara's Cleaning,

       for about 5 years.



       I have known John A. Drago through my friendship with his wife, Victoria Drago, for

       approximately 11 years. I can attest to John's righteous character due to his respect, patience,

       and generosity. John has proven himself to be selfless and place others' needs before his own.

       Furthermore, he is an exemplary father and husband who loves his family unconditionally. My

       children and I deeply admire the courage and empathy we have seen in John.



       During a difficult period of me and my children's life, John demonstrated his compassion and

       giving heart. My children and I used to live in a basement which flooded when Hurricane Sandy,

       in 2012, affected New York. John was kind and offered his home, until we were financially

       stable to move, for us to have a safe place to stay. John opened his home to us for about nine

       months until we moved out of the state of New York to Virginia. Despite having family

       members who could help us during this hard time in New York, none offered as much aid and

       care as John. To this day, we thank John and his family for being so kind and loving towards us

       even when many were not.



       I truly believe John is a man with good morals who has a compassionate heart and is willing to

       do anything to help others. I know this circumstance will also allow John to grow personally and

       extend his help for those in his family, friends, and even his community.



       Thank you so much for your consideration of this letter.




           -a;:eda
       Sincerely,
Case 2:18-cr-00394-GRB-AYS Document 187-2 Filed 10/12/22 Page 4 of 20 PageID #: 3414



     February 4, 2022



    The Honorary Judge Gary Brown

    United States Courthouse {Eastern District of New York)

    100 Federal Plaza. Central Islip, New York, 11722



    My name is Diana Vasili-Acevedo and I voluntarily provide a character reference on behalf of John Drago. 1 was
    troubled and surprised to learn back in 2018 that he had been arrested for financial crimes since the accusations are
    discordant with the decent person 1 have the pleasure to know. I met him seventeen years ago when I started
    working at Kayla Check Cashing and his family and ours have become close over the years.

    While working with him I always recognized him to be a man with integrity that was proud to have worked hard to
    build his business and even more proud to be an American Citizen.

    After about a year of working at Kayla Check Cashing, 1 graduated from my master's on Electrical Engineering and
    started my career at GE Healthcare where I have worked until this day. However, John's wife Victoria and I remained
    friends and with time our families bonded.

    John is a good man, and this has been obvious to me for the past seventeen years. He has always been more than
    willing to help anyone that needs it, he is very religious and is a responsible son, brother, father, and husband. There
    is not a t1me we get together that he doesn't mention his mom who has been diagnosed with dementia and fully
    relies on him, always speaking lovingly of the challenges that come with takmg care of an aging parent. John is also
    extremely proud to have served in the United States Army as a 1" Lieutenant and often talks of his unconditional
    love for his family and his country.

    I understand the distressing circumstances that John is facing and have seeing how this process has deeply affected
    not only him but his loved ones, especially his wife and children. I am aware that he made an error of judgement
    that has brought grave repercussions. His family has been through a lot to try and stay afloat morally and financially
    throughout the last decade, his youngest daughter wi tnessed how he was taken out of their home, his reputation
    has been stained and they have lived with the uncertainty of what is to come. However, John continues to be present
    for his mom, his wife, his children and anyone that may reach out to him for help.

    It is my sincere hope that the court takes this letter into consideration at the time of sentencing. Despite the current
    case, 1am confident that John will continue to be an honorable individual, a valuable member of the community and
    a good human being.

    I w1sh for John the best outcome on this case knowing that his family needs him by their side, and 1am willing to give
    oral evidence to the court if necessary.




   516 281-4215
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                                                                         December 17, 2013




   Dear Hogwarts

   Thank you for been always there for me and for teaching me many great lessons that
   enriched my life in many ways, because each ofyou advise me in my youth years and
   my olders carry me, thankyoufor supporting me in every aspect of my life in the big
   ones and the small ones, thank you because through the graves I was always able to
   find the truth, that I was showing and my mistakes shine for me to notice them and
   work on them, Thank you for your cooperation and for working with me always as a
   team, for all the bad incidents I'm grateful too because they teach me how to deal with
   greater situations, I'm leaving with a footprint of this company in my heart, just like
   the footprint that a child keeps in their heart of all the teaching that their parents give
   them, because this has been a school of life for me, I'm hoping that I am as well leaving
   a lesson of"always do the right thing': (something that I learned from john) because
   believe me is totally worth it, even on those times that you don't think is easy to do it,
   as long as you stick to it as a golden rule in your life things will always at the end will
   work at your favor, I will always carry you in my heart and I'm leaving today the desk
   but I will be just a phone call away and you can count with me to help in anything
   during the transition.

   My best wishes to all on this holiday season I will surely miss you all and thank you
   again
   Carolina


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        September 9, 2022

        Dear Honorable Judge Brown,

        My name is Charles Picchiello, and I have been working at UPS for over 25 years. I have
        been married to my wife, Mary, for over 38 years and I have five grown children. I am
        writing to you on behalf of my brother-in-law, John Drago.

        I have known John since 1982. He had just graduated high school and was starting the
        ROTC program at John's Hopkins University in Maryland. At that t ime he was studying to
        become a doctor. I have always known him to have strong social ethics and a love for this
        country.

        When he was in business, once again, he was very caring to his employees, always willing to
        lend them a hand, both emotionally and financially. I remember when one of his workers
        lost a child suddenly and tragically, and when the employee asked to borrow money for the
        cost of the funeral, John instead paid off the funeral without anyone asking him for help. He
        has always been a model citizen, to which I am proud to say, my children have looked up to.

        John's father passed away five years ago. He and my wife are taking care of their
        mother. My wife is an RN, working full time. During the height of the pandemic, she
        worked countless hours taking care of Covid patients. She limited her exposure to her
        mother to once a week, as to keep her mother protected from the virus. John was always
        there to help his mom with whatever she needed. Now, five years later, she needs more
        care and company, as she is 85 and suffering with dementia. Although my wife gives it her
        all, it is John that now has developed the closer relationship and patience that his mother
        needs at this time. John even helps my wife get through some of her own frustrations when
        my mother-in-law has bad days and is more irritable than usual.

        I truly know John is a good man, full of compassion and a caring heart. He loves his family,
        his wife, and his children. He is very active in his community, as well as being involved in his
        daughter's life as she is in her early years in High School. I also know he is of utmost
        importance to the care of his aging mother.

        I am hoping I gave you a small snapshot of the man I am proud to say is my brother-in-law,
        and I hope you will take these things into consideration, as well as his importance to those
        around him, when it comes to sentencing.

        Thank you for taking the time to consider my letter.



        Charles Picchiello
    Case 2:18-cr-00394-GRB-AYS Document 187-2 Filed 10/12/22 Page 7 of 20 PageID #: 3417



          February, 2022

          Honorable Judge Brown,

          My name is Clark Torres, and I am a proud employee of the United States Postal Service.

          I am writing this character reference at the request of John Drago. I believe many would
          view this request as "unique", as John is the spouse of my ex-wife, and most might think of
          me as an unlikely person for him to make such a request of. However, over the many
          years that I have come to know John, I realize that if there was ever one individual who
          should supervise the development of my daughter during the times that I am not with her,
          he is by far the best choice.
          I don't know the details behind how John got into the situation he is in, but from speaking
          with my daughter and seeing the values that he and my ex-wife have instilled in her, I have
          come to believe that John is a good person at heart with a very strong moral character and
          just as strong faith in his beliefs.

          Despite all the difficulties that they have gone through for most of the years that I have
          known him, John and Vicky have been able to help me develop my daughter into the
          'I{Onderful young lady that I see today. At no point have their personal st~ ever
          adversely affected her or deprived her of anything in any noticeable way. -          s sweet
          sixteen is this coming fall, and together we have jointly been planning to celebrate her
          special day. Although this is a financial burden for me, I know at this time it is just as
          much so for them, but as we have all jokingly agreed, although a person might enter into
          matrimony more times than expected, a young lady only turns 16 once in her lifetime.

          Most of the time I only have the chance to speak with John at events such as my
          daughter's basketball games, or confirmation and communion, or occasionally when I pick
          her up or drop her off at the end of our visits together, but John has always been very
          respectful with me and~usly afforded me my proper place in -               s life. I know that
          together we will make -       s upcoming special day one that she will treasure, and I also
          know that when the time comes to walk her down the aisle at her wedding, that too will be
          a very special time that we will all experience together as an extended family.

          My daughter, and even society, cannot benefit in any way by John's incarceration for any
          amount of time, and I do plead on his behalf that your honor have leniency in your
          upcoming decision.

          Once again, I am unfamiliar with what John is accused of doing, but I know the great man
          and roll model that he is, and I personally feel that he and his loved ones have already
          more than paid for any possible misconduct over the many years that they have been
          suffering through this process.


        ~
          Clark Torres




I
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           February 3, 2022
           The Honorable Judge Gary Brown
           United States Courthouse (Eastern District of New York)
           100 Federal Plaza
           Central Islip, New York, 11722

           Dear Honorable Judge Brown,

           My name is                      I am writing this letter in request of leniency in the sentencing of
           John Drago. I met John Drago about 8 years ago by way of my brother, -               -      and John's
           stepdaughter, -             were classmates at St. Mary School in- East Islip. John is one of the
           most genuine and loving people that I have ever met. He has gone through a lot in his life, yet
           throughout it all, he still stays true to his virtues, and relies on both his faith and the people
           around him to overcome his hardships. He is one of the most optimistic people that I have ever
           met, and a blueprint for how I should carry myself all throughout my life.

           When I first met John, he had this sense of charisma that immediately pulled me towards him.
           We shared many of the same interests, and he always took the time to get to know me and
           listen to my thoughts and opinions. During our many get togethers, I was able to see him
           interact with his family. With each encounter, I was truly able to see how much he loves and
           reveres each and every one of them. I also know that he has the added responsibility of taking
           care of his mother, who is sadly suffering from dementia. He is constantly there to check up on
           her and make sure that she is safe, and that all her needs are met. This year, I had to choose
           who would be my Confirmation sponsor. Many of my friends had a hard time deciding, but
           honestly, this was not a difficult decision for me. Picking John was the obvious choice. John
           Drago is a kindhearted, hardworking, compassionate man, whose inner strength and faith in
           God, no matter what life has thrown at him, has inspired me, and are qualities that I strive to
           exhibit throughout my life.


           I am able to say with complete certainty and confidence that John Drago has helped to shape
           the person that I am today. He is one of the most ethical and spiritual people in my life. It is
           unfortunate that a good, respectful person has had to endure many years of frustration,
           financial uncertainty, and loss of his business- working hard for a country that he no doubt
           loves. Despite it all, he has not shown hatred or bitterness, but continues to still stay true to
           himself and his virtues. My hope is that he can end this chapter and be given the opportunity to
           use his positivity, compassion, and love to move forward and continue to inspire and touch
           people's lives, like he has done mine. There are very few people in this world with that ability,
           and I am so lucky to know this extraordinary man and have him as part of my life.




I
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     June 7, 2022
     The Honorable Judge Gary Brown
     United States Courthouse (Eastern District of New York)
     100 Federal Plaza
     Central Islip, New York, 11722

     Dear Honorable Judge Brown,

     My name is Edwin Ramirez, I came to the United States of America in 1996 with a dream in my
     mind to start a new life in the most wonderful country in the world. I have been able to achieve
     the goals I had in mind thanks to hard work, discipline, and the great opportunities the US has
     provided me. I am the father-in-law of John Drago.

     I met John over 14 years ago through my stepdaughter while she was working at John's business.
     Immediately, I connected well to John due to the way he carried himself with respect and the
     way he cared for his employees. It was not hard to strut liking a man that always takes care of
     other human beings with respect and kindness.

     Our relationship started to grow more closely when he married my stepdaughter, and they went
     to live together. He would always invite us to spend time with the family, showing us the
     wonderful person that he is. Over time, I learned about some of the selfless, kind things he did
     for some of his employees, like helping to pay for the funeral of a family member of one of his
     employees, helping others with time off or managing their schedule to have time to go to school
     and better themselves. His relationship with his employees was always close and everyone had
     good things to say about him.

     Now after many years of him been part of my family I can assure you that John is a completely
     honest, hardworking individual who loves this country like no one else and still does even after
     losing everything in a court process that has taken over a decade and that I have witnessed very
     closely through my relationship with him, my stepdaughter and my granddaughter. John 's
     mother, who has dementia, needs him more than ever after his father passed away. John has
     become the person that takes care of her making sure she has all the medications she needs,
     fixing, organizing, and maintaining everything around her house, buying her groceries, etc. She
     has become completely dependent on John, and he has been nothing but supportive in every way
     imaginable beyond even what many others would do if faced with a similar situation.

     As the days get closer to his sentence, I only ask for your mercy and to be sure to consider all of
     the good factors this man has and that you may see him the way that myself and many others do
     - a kind, honorable, deeply family-oriented man seeking only to close this chapter and live out
     his days in peace with his family.

                    your consideration.
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      JoJo, I ~now you didn't as~ me to write a letter to the Judge, but I
      just thought I should write what I said about you at my sweet
      sixteen during the candle lighting session.
      October 1, 2022
      Honorable Judge Brown
      Dear Judge Brown,

      At my sweet sixteen party, my mom was the first candle, JoJo was
      the second (that is how important he is to me), and my dad was the
      third. This is what I said about JoJo for all to hear:


            "JoJo, I don"t thin~ I could be the young adult that I am
            today without you. You have been through so much in your
            life, and yet you always find the time to ma~e other people
            happy before yourself. You are the strongest person I ~now,
            and I really do mean that. No matter what anyone says
            about you, that will never change the way I see you,
            because they do not ~now you as a person. I believe that
            everything happens for a reason, and you coming into my
            life was one of the best things that could have happened
            to me. I want you to ~now that even though you are not
            my biological dad, you have always treated me as your
            own, and I could not be more grateful for that. There are
            not that many ~ids who are luc~y enough to have a dad,
            but I am blessed enough to have two dads that care for me
            and will do anything for me no matter what. Than~ you
            for always listening to me rant about mom to you, and for
            always helping me with anything I need.           Oh, and
            remember, Four Doss Phat! With that being said, JoJo,
            would you please help me light my second candle."



       Please, your Honor, please be merciful with my dad. He is the ~indest
       person I ~now. My mother, me, and all of my closest friends and family
       need him so much in our lives.
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                      Jennifer McNally

        October 4, 2022

        The Honorable Judge Gary Brown
        United States Courthouse
        100 Federal Plaza
        Central Islip, NY 11722

        Dear Honorable Judge Brown,

        My name is Jennifer McNally and I have had the pleasure of
        knowing John Drago as a fellow dog lover, neighbor and friend for
        the past 3+ years.

        As a former Suffolk County SPCA Humane Volunteer and current
        foster mama and rescue volunteer for several local dog rescue
        organizations, I was thrilled to meet John, a kindred spirit, in my
        condo community. He had recentjy adopted a Husky and was
        regularly outside exercising and socializing his new family member.
        My foster dog (who I ultimately adopted) became fast friends with
        John's dog, Dallas, I recognized John immediately as a caring and
        responsible pet owner, learning the details of his breed's needs,
        characteristics and temperament. He put in the time to really bond
        not only with his own dog but also with mine (Deegan), who had
        been abused and seriously injured prior to coming to my home.

        It is believed that dogs are able to sense when someone is a good
        or bad person. Deegan and I figured out early on that John Drago
        was not only a good person, but a great one. Post-pandemic when
        I had to return to work full-time, John not only checked in on
        Deegan but even took him for play dates in his home. He has
        become the ONLY person I trust to care for my dog when I can not.
        John also comes by regularly to help administer allergy shots to
        Deegan and vaccinations to my current troop of foster pups. It
        seems they also have complete faith in him to keep them safe and
        healthy.
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        More than that, I have gotten to know John as the quintessential
        family man who loves, listens to and respects his wife and
        daughter for the strong and caring women that they are. It is
        obvious how loved and respected he is by his wife Victoria and
        (step)daughter-1 was able to witness the most touching
        moment of love and admiration by his daughter at her recent
        Sweet 16 birthday party when dancing with her "Dad," John Drago
        who has supported and raised her as his own since she was just
        three years old. I also know John to be a kind and loving son to his
        mother with dementia, proven without question the day I overheard
        him on the phone gently reminding her that the cat in her house is
        in fact, her own.

        Lastly, I know John to be a great neighbor. He is very sociable,
        always follows community rules and encourages other to do the
        same. He is friendly, helpful, respectful and trustworthy. I have
        watched him help the senior couple next door with several projects
        and he's always doing his part to spruce up the complex with
        plants or fresh paint As a woman living by herself, he makes a
        point to check in and see if he can assist with anything around my
        home. He has worked on my defective doorbell camera and even
        offered to help fix my screen door when it came off the track.

        I have truly been blessed to get to know John and his family over
        the past three years. I am taking the time to write this letter in
        hopes of offering a fuller picture of who John Drago is as a person.
        He is a good man who I am lucky to call my friend. He is so
        important to so many people (and pets) in our community and with
        his family at home (including Dallas).

        Thank you for your time and consideration of my opinion. I am
        available to confirm these statements should that be necessary.

        Sincerely,




        Jennifer McNally




                                         CONTACT

         343 MEDEA WAY I CENTRAL ISLIP I NEW YORK 1117221 JENNAMC118@YAHOO.COM
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     I he llonorablc Judge Gary Brown
     { mtcd ~tatcs Courthou~c (Eastern District oft\C\\ York)
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     Central blip. ~C\\ York 11722


     Dear llonorahlc Judge Brov-11.

     My name is Linda Gal lelli, 1am a Spanish teacher in the Islip School District. I h:l\c been
     teaching at !slip I ligh School since 1998. My husband, Marc Ciallclli, is a technician at VcriLon
     and hns been employed there since 1999. My husband and I have kno\>\11 John Drugo since
     September 20 II when our children were in IJndcrganen and became friends at St. 'lary School
     in East Islip. My son,            and John' s stepdaughter, -    havc been best friends ever since
     kindergarten.

     John Drago and my husband Marc both share a love of ponds and fi sh. That hobb} brought them
     close. They soon began texting each other pictures of the fi sh. sharing food and hyacmth fo r the
     pond. Victoria Drago. John's wife. and I quickly became friends as well. UnbeknO\\llSt to me.
     Vicky's brother \>\as a student of mine years ago. John ru1d Vicky invited my famil) to their
     home to celebrate -        s birthday. We were received with a very wann welcome from them
     and from their fami lv. At that party it was evident to sec the love that John has for his famil)'. not
     just for Vicky and-         but for his parents, his sister, and her family, and for his in-lav.s. John
     is a family man and  goes  above  and beyond for the people he loves.
      /\s years passed. we spent more time together, we celebrated our ov.. n birthda) s together. our
      children's communion and confirmation. Eventually, we went on vacation v.ith John, Vicky,
     -        lnd two other families. We went to Aruba in 20 18 and to Disney in 2019. This past
      summer. John and Vicky look ~n vacation to Virginia. they asked if my son                        and
      two other friend s would be able to go with them. Without any hesitation, my husband and l said
      yes. We had no doubt that our son would be in excellent hruKis with John and Vicky.

     We call ourselves " f'riend s like Fan1ily" and that is the truth. We know that we can count on
     John for anything. We look to John with admiration, and we respect his opinions and
     knowledge. John is a good man with a big heart. he is generous, kind, and dedicated to his
     famil). Please take these positive attributes into consideration when it comes to his sentencing.

      I hank you ft)r taking the time to read my letter.




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  October 4, 2022
  The Honorable Judge Gary Brown
  United States Courthouse (Eastern District of New York)
  100 Federal Plaza
  Central Islip, New York, 11722


  Dear Honorable Judge Brown,

  My name is Melissa Polito, I am a wife of 12 years , a mother of 3 beautiful daughters, and a
  friend of John Drago - I am honored to write on his behalf.

  I have had the pleasure of knowing John for about ten years now. We first were introduced
  through my friendship with hi s wife, Victoria Drago. Knowing Vicky as someone I respected
  and admired, I knew her husband would not be any different, so when we first met I was not
  surprised. He was a well-rounded, educated, and successful businessman. However, that is not
  what impressed me. I found John to be a kind and generous man. T here has never been a time
  when he didn't have a smile on his face followed by a funny joke or something positive to say. A
  small detail to some but that taught me something. He showed me that no matter what you may
  be going through it's all about your thoughts. Knowing that John had a winning attitude, I often
  looked to him for help in better understanding business. One of the things that 1 admire most and
  have massive respect for is how John stays spjritually grounded and stands behind values and
  morals- something that is not so easily done in today's society.

  I recently had the privilege to celebrate the Sweet 16 of John 's stepdaughter with the family and I
  could not help but have tears in my eyes. The words that his stepdaughter bad spoken and the
  love and admiration she has as if he were her biological father is a true testament to the man he
  is. This world needs more men like John Drago.

  I thank you for your time and consideration.


  Sincerely,



   Melissa Polito
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        June 7, 2022
        The Honorable Judge Gary Brown
        United States Courthouse (Eastem District of New York)
        100 Federal Plaza
        Central Islip, New York, 11722


        Dear Honorable Judge Brown,


        My name is Mercedes Ramirez and I have been working at Pro-Vest as a Legal Process Clerk for
        about 9 years. I am writing this letter to attest that I have known John Drago for almost 14 years,
        and I can say that he is a responsible, honest, respectful man who is always willing to help
        others. He became part of my family when be married my daughter and since then he has always
        been the support and provider of his family. He has given unconditional love to my daughter and
        granddaughter. Over the years he has proven to be a good husband and a good father and has
        always been willing to provide the necessary help for all of us around him.

        He was a great help to my son when, due to circumstances beyond his control, he had to leave
        the school district in which be was studying, and John gave him the opportunity to pay the tuition
        for the two years be needed to graduate from high school and from which he graduated with
        honors.
        John Drago is part of our family and an unconditional support for my daughter and
        granddaughter. He has always treated them with respect, love and has provided them with all the
        well-being they have needed. He is a good man, with good moral values, with a compassionate
        heart, is a very religious man, very responsible and always willing to help his community, his
        friends and especially his family. This is especially true of his mother who is diagnosed with
        dementia, whom he has been an unconditional support and help for her under these
        circumstances. He bas taken care of her with care and ensures that she lacks nothing. Despite the
        circumstances which he has found hin1self dealing with this court case over the past many years
        that has had an extremely detrimental impact on his life, he has always been there and continues
        to be there for those in his life who need it without any hesitation.


        I appeal to you to find it in your heart to give John Drago the opportunity to continue serving and
        helping his family that needs him so much. Thank you for your time and attention.
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      The Honorable Judge Gary Brown
      United States Courthouse (Eastern District ofNew York)

      100 Federal Plaza
     Central Islip, New York, 11722


     Dear Honorable Judge Brown,


             Our names are Daniel. Michael, Matthew, Christopher, and Emily, and we represent the
     nephews and nieces of John Drago. We are writing this letter requesting leniency for our uncle,
     who has always been a big part of our life. John is an extremely intelligent, hardworking, and
     caring individual, and bas always been a role model for us as we've grown up and begun to
     establish ourselves in society. We all share a special and close relationship with John, and he has
     been the godfather or sponsor for many of us due to his exemplar character and strong
     commitment to faith.
              John is an extremely family-oriented man, and he shows that in the actions that be
      performs. Spending time at our Uncle's house was a formative part of our childhood and we hold
      fond memories of various holidays together to our heart to this day. Growing up. John would gift
      us some amazing Christmas presents, host family gatherings, and more recently, he has
      graciously hosted some important milestone events within our lives like graduation and
      engagement events. John never had to do any of these things for us, yet he always relished in
    . putting a smile on our faces and celebrating important milestones in our own lives. Further, he
      shows this in the many acts that be performs for our grandmother with dementia, where he
      always ensures to stop by even ifjust for a family lunch or speak with her for hours on the phone
     to see how she is doing. John has shown such great patience, diligence, and care for our
     grandmother, and has always gone the extra mile to provide her with much needed company to
     enhance her mood even on her most difficult of days, and to make sure that she is domfortable
     and safe through making important modiftcation.s in her home environment.

            When thinking ofour Uncle's character, one act of kindness that sticks out was when his
    daughter~ad to get braces. As a young kid, this is a big change to your appearance and
    oftentimes opens you up to bullying. -       was scared of bow she'd look and what the other
    kids at school would think. So, Uncle John decided to get braces, right alongside her. He, as a SO
    or so year oJd professional man, was willing to commit to something like this, just to make her
    not feel alone.
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        The Honorary Judge


        Gary Brown
        United States Courthouse (Eastern District of New York)
        100 Federal PISUI
        Central Islip. New York. 11722


       La FAMILIA TRUJILLO ESTRADA, con cludadanfa Colombians y residentes en Ia Ciudad
       de Cali-Colombia Carrera 1148 No. 17- 120 Apto. 302BBarrio Ciudad Jardfn, conformada
       por JOSE DAVID TRWILLO PARRA Cedula No. 16.672.259 de Cali, Asesor de Seguros,
       BLANCA LIGIA ESTRADA ALZATE con Cedula No. 31 .865.344 de cali, Contadora de Ia
       Empresa Programas Y Servicios Pecuarios S.A.S., ISABELLA TRUJILLO ESTRADA con
       Cedula No.1.006.011 .811 de Cali, Estudiante de Medicina en La Universidad Javeriana de
       Cali-Colombia, damos fey constantia que conocemos AL SENOR JOHN A DRAGO desde
       hace mas o menos diez (10) alios por intermedio de nuestra sobrina VICTORIA DRAGO,
       quien es Ia esposa de John A Drago, con el cuaJ hemos compartido en su casa siempre
       que vamos a E.E.U.U., y donde nos acoge oon mucho carii\o, respeto y amabilidad. En
      este tiempo hemos podido conocer a John como un gran Hijo, Esposo, Padre, Hennano,
      Amigo, una persona maravillosa, honorable Ia cual Dios ha dado unos dones como son su
      caUdad humana, caritativo colocando su granito de arena donde pueda hacerto y se le
      necesite, pues tenemos conocimiento sobre sus obras de caridad aqui en Colombia, 1e
      pedimos a Dios que le cuide y le proteja para que siga con ese legado tan hermoso de
      querer siempre ayudar a las personas. Oamos muchas gracias a Oios por Ese gra~
      que le dio a nuestra sobrina Victoria Drago y a su vez por el padre que ha sido para -
      gracias por ese valioso amigo que llego a nuestra familia el cual queremos, admiramos y
      esperamos poder seguir contando con su valiosa amistad y seguir compartiendo momentos
      maravillosos
                                         rma en Cati a los 7 dias del mes de septiembre de 2022.


       (




        51bellra 1roial\o ( ·
      ISABELLA TRUJILLO ESTRADA
      C.C. 1.006.011.811 CALl
      CE;LULAR: 317 331 44 77
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                              English Translation

 Cali, September 7, 20222


 The Honorary Judge
 Gary Brown
 United States Courthouse (Eastern District of New York)
 100 Federal Plaza
 Central Islip, NY 11722


 The Trujillo Estrada family with Colombian citizenship, residing in the City of Cali in Colombia,
 Carrera 114B no. 14-120 Apt. 302B in the neighborhood of Cuidad Jardin, comprised of Jose
 David Trujillo Parra with Identification Card No. 16.672.259 of Cali, an Insurance Advisor;
 Blanca Ligia Estrada Alzate with Identification Card No. 31.865.344 of Cali, Accountant for
 Empresa Programas & Servicios Pecuarios S.A.S.; Isabelle Trujillo Estrada with Identification
 Card No. 1.006.011.811 of Cali, a Medical Student at La Universidad Javeriana de Cali, Colombia;
 with faith we give testimony that we know Mr. John A. Drago more or less than ten (10) years
 through our niece, Victoria Drago who is the wife of John A. Drago and with whom we have
 stayed in his home every time we have gone to the USA and which he welcomes us with fondness,
 respect and kindness. During this time, we have come to know John as a great son, husband,
 father, brother, and friend. A wonderful, honorable person whom God has given some gifts such
 as his human quality, charitable in placing his grain of sand where he can do it and is needed,
 because we know about his charitable works here in Colombia, we ask God to take care of him
 and protect him so that he continues with that beautiful legacy of always wanting to help people.
 We thank God very much for that great husband he gave to our niece, Victoria Drago, and in turn
 for the father he has been to          , thanks for that valuable friend who came to our family
 whom we love, admire and hope to continue counting on his valuable friendship and continue
 sharing wonderful moments.


 For proof of the above, it is signed in Cali on September 7, 2022


 Jose David Trujillo Parra
 C.C. 16.672.259 Cali
 Cell: 315.551.61.07

 Blanca Ligia Estrada Alzate
 C.C. 31.865.344 Cali
 Cell: 315.572.76.31

 Isabella Trujillo Estrada
 C.C. 1.006.011.811 Cali
 Cell: 317.331.44.77
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    October 5, 2022

    Honorable Judge Brown,

    Below I (the defendant) have transcribed two recent voicemails left by my mother, both of which
    were received not long after leaving her house. Dad passed away almost 6 years ago, but
    before he died, he insisted I promise that I would keep my mom in her home LJntil her time
    arrived .. Subsequently, I installed security cameras in her house that my sister and I monitor
    24/7, and we take turns visiting her (I visit 3 to 4 times per week). Mom has dementia and
    quickly forgets our visits and our phone calls, but I have come to realize that the "feelings" she
    derives from those visits last much longer than the memory, often for many hours. I've taken up
    writing lately and have two books which I plan to pursue publishing once any penal confinement
    is behind me, but my experiences with mom have inspired me to consider a third book, this one
    focused on what I have learned from dealing with dementia..

    Getting back to mom, she is 85 and her dementia is slowly but progressively worsening. My
    sister and I have tried visiting nurses as well as a live-in, but those were disasters at the time, as
    mom was not yet ready and still has deep seated trust issues. Mom maintains her hygiene and
    eats when she is hungry. She takes good care of her two cats, even though she doesn't
    remember how they got there. On every visit I check her blood pressure and her weight, and I
    call her multiple times a day to guide her through how to get her pills from the automatic pill
    dispenser. For now, we seem to have things in order, and dad's last request is being fulfilled.

    My biggest concern is what would happen to mom if I were no longer there for her. At her
    present level, she unfortunately appears to trust only me, and my regular visits and phone calls
    are necessary to reassure her and help keep her feeling safe and secure. I dread the thought of
    what her final days would be like as collateral damage for punishment that only I deserve. I am
    hoping that her needs at this time in her life can override any benefits society might derive
    through my imprisonment..

    Mom calls a lot, and I can't field every call she makes. Two very typical voice messages are
    transcribed below, but the actual voice messages are worth listening to, as one can sense her
    contentment, even though she doesn't remember that I just moments before left her presence.

    September 29, 2022, shortly after I left mom's house and on my way home: Hello from me,
    and I promise this is the last time because I keep thinking it's not going through, it's not going
    through. Please go out to dinner, make it a really, really, good dinner, because you are so great
    you help me so much and you don't know it's what I know I need, and you just come and do it
    like you know. Please, make me happy and take your beautiful wife and yourself out and have
    something delicious, you know, want to be bold, go to a good, good place, have a delicious,
    delicious dinner because I love you so much for all you do for me and I want to say thank you,
    thank you, thank you, thank you, thank you. Thank you. I love you. Now I promise you I'm not
    calling anymore. I'm counting on you and it's very hard to wait for the telephone company to
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   say OK he got this and then I even wonder, what is this? So please, just call. Please enjoy it. I
   love you, bye.



   October 2, 2022, once again shortly after I left mom's house: Hello, it's me. Um, I know you
   have my number, you, I'm your mother. Do you remember me? You have a black cat sister, and
   you know I don't see anybody else (referring to her other cat) I just see the black cat here, which
   I kind of don't know. I don't know anything, to tell you the truth, but there's only one person
   that I really feel, I'm not being dramatic, but I can trust, and who really cares about me, and I
   think it's you. I think Mary, unfortunately, I'm practical, is out for her own good. And, whoever
   I'm dealing with, I, the only time I feel comfortable is when I am talking to you. So, sometime, if
   you have a chance, without making it look ugly or anybody saying what are you doing, could
   you give me a buzz? I love you, take care.

   I dread the idea that mom would suffer for my mistakes.
